Case 1:19-cv-04142-BMC     Document 19-9       Filed 02/10/20     Page 1 of 4 PageID #: 287




            Aviva Stahl v. Federal Bureau of Prisons, and Department of Justice
                         Case No. 19-cv-4142 (BMC) (E.D.N.Y.)
                                   Ginsberg Declaration
                                        Exhibit B
Case 1:19-cv-04142-BMC     Document 19-9       Filed 02/10/20     Page 2 of 4 PageID #: 288




              Aviva Stahl v. Federal Bureau of Prisons, and Dept. of Justice
                         Case No. 19-CV-4142 (BMC) (E.D.N.Y.)
                                Fenstermaker Declaration
                                        Exhibit
                                                                                                                             Page 1 of2
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Erika Fenstermaker - Re: FOIA #2018-02917 -1/M Mohammad Salameh #34338-054


From:
To:           Fenstermaker, Erika; -
Date:         8/19/2019 12:47 PM
Subject:      Re: FOIA #2018-02917 - l/M Mohammad Salameh #34338-054



Search conducted for videos with negative results.



-
Correctional Services Specialist
North Central Regional Office
400 State Avenue
Tower II. Suite 800
Kansas City, KS 66106
Office:



"Train people well enough so they can leave,
Treat them well enough so they don't want to". -Richard Branson

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arrangements for its return to us.




> > > Erika Fenstermaker 8/19/2019 12:40 PM > > >
We are currently in litigation regarding the above FOIA request. The requester asked for all videos of any
involuntary feeding/Force Feeding Videos regarding the above inmate. We received 6 videos from the
institution (ADX Florence) but as part of the litigation the requester is claiming that we did not conduct a proper
search because per policy all videos must go to Central Office for review and that we should have requested a
search be done of Central Office (We did ask Central Office to conduct a search but there response was that use
of force videos (tube feedings) are submitted to the Regional Offices and that CPD does not maintain these
videos). While the institution is the logical and reasonably place to search for the videos, since she is quoting
policy we think it would be in our best interest to have the Regional Office conduct a search. See below:

Can you please see if someone can conduct a search regarding inmate Salameh for any Force
Feedings/Calculated Use of Force videos from January 1, 2002 to December 31, 2015. If you find any
videos can you please forward them the me. Keep in mind if there are any videos found, they will be withheld in
there entirety.

If you have any questions, please do not hesitate to contact me. Thank you.


Erika Fenstermaker
Government Information Specialist
Federal Bureau of Prisons




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                                                                                                     Page2 of2
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North Central Regional Office
400 State Ave., 6th Floor
Kansas City, KS 66101
OFFICE:

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